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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 EDDIE RAY BRADLEY,                                   )
                                                      )
                 Plaintiff,                           )
                                                      )
 v.                                                   )
                                                      )   Court No. 15 cv 08489
 VILLAGE OF UNIVERSITY PARK,                          )
 ILLINOIS, an Illinois Home Rule                      )   Honorable Judge Charles R, Norgle, Sr.
 municipality, and VIVIAN COVINGTON,                  )
 Mayor of UNIVERSITY PARK, ILLINOIS,                  )
 both Individually and her official capacity as       )
 mayor,                                               )
                                                      )
                 Defendants.                          )


 DEFENDANTS’ LOCAL RULE 56.1 STATEMENT OF ADDITIONAL UNDISPUTED
       FACTS IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

         NOW COME Defendants, the VILLAGE OF UNIVERSITY PARK (“the Village”) and

VIVIAN COVINGTON (“Covington”) (collectively “the Village Defendants”), by and through

their attorneys, PETERSON, JOHNSON AND MURRAY – CHICAGO, LLC, and for their Local

Rule 56.1(b) Statement of Additional Undisputed Facts in opposition to the Motion for Summary

Judgment of Plaintiff EDDIE RAY BRADLEY (Doc. 110, Motion for Summary Judgment), state

as follows:

                              ADDITIONAL UNDISPUTED FACTS

         1.    Plaintiff Eddie Ray Bradley ( “Plaintiff”) is a resident of the Village and worked as

the Village’s Police Chief from October 2013 until his termination on May 15, 2015. (Exhibit 1,

Village Defendants’ Amended Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 6;

Exhibit 2, Bradley Deposition, p. 7).




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       2.      Defendant Covington is a resident of the Village. (Exhibit 3, Covington Deposition,

pp. 6-7). Covington served as Village Mayor for two consecutive, four-year terms from May 10,

2011 to May 16, 2015, and from May 16, 2015 to May 15, 2019. (Exhibit 3, Covington Deposition,

p. 7; Exhibit 4, Covington Affidavit, ¶ 2; Exhibit 5, Roudez Deposition, p. 6).

       3.      Defendant the Village is a home rule unit of Illinois and an Illinois municipal

corporation. (Exhibit 1, Village Defendants’ Amended Answer and Affirmative Defenses to

Plaintiff’s Complaint, ¶ 8). The Village is organized and operates under a managerial form of

municipal government. (Exhibit 3, Covington Deposition, p. 17).

       4.      In October 2013, Plaintiff was hired as the Village’s Police Chief at the request of

several Village Trustees. (Exhibit 1, Village Defendants’ Amended Answer and Affirmative

Defenses to Plaintiff’s Complaint, ¶ 6; Exhibit 2, Bradley Deposition, pp. 11-12). Plaintiff, a

former deputy with the Will County Sheriff’s Police, came out of retirement to accept the Village’s

Police Chief position. (Exhibit 2, Bradley Deposition, pp. 9, 12). Plaintiff’s employment with the

Village in that regard was governed by a written contract (“the 2013 Contract”). (Exhibit 1, Village

Defendants’ Amended Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 12).

       5.      Covington was the Village Mayor in her first, four-year term of office, which

commenced on May 10, 2011, and was set to expire on May 16, 2015, at the time Plaintiff’s 2013

Contract was executed. (Exhibit 3, Covington Affidavit, ¶ 2). Covington voted against Plaintiff’s

2013 Contract. (Exhibit 2, Bradley Deposition, p. 31; Exhibit 3, Covington Affidavit, ¶ 3).

       6.      After one year, on October 7, 2014, Plaintiff and the Village purported to enter into

a new written employment contract set to expire on December 31, 2016, under which Plaintiff

received an annual salary of $100,000.00, medical insurance coverage, and paid vacations and sick

leave, among other benefits (“the 2014 Contract”). (Exhibit 1, Village Defendants’ Amended



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Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 12; Exhibit 6, Plaintiff’s Complaint,

Exhibit C).

       7.      Under the 2014 Contract, Plaintiff could be removed for cause upon service of

written notice of for cause charges at least seven (7) days before a hearing with the Village Board

to consider the termination of his employment contract. (Exhibit 1, Village Defendants’ Amended

Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 12; Exhibit 6, Plaintiff’s Complaint,

Exhibit C). The 2014 Contract further provided that Plaintiff would be afforded the opportunity to

explain his position at the said Village Board hearing. (Exhibit 1, Village Defendants’ Amended

Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 13; Exhibit 6, Plaintiff’s Complaint,

Exhibit C).

       8.      The 2014 Contract also provided that Plaintiff could be terminated without cause

as long as the Village Board notified him in writing of its decision in that regard and paid Plaintiff

a termination fee and/or severance equal to four (4) months of his salary. (Exhibit 1, Village

Defendants’ Amended Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 14; Exhibit

2, Bradley Deposition, pp. 17, 39; Exhibit 6, Plaintiff’s Complaint, Exhibit C).

       9.      When executed on or about October 7, 2014, the duration term in the 2014 Contract

(i.e., December 31, 2016) exceeded Covington’s first, four-year term of office as Village Mayor,

which again (barring her re-election) was scheduled to expire on May 16, 2015. (Exhibit 3,

Covington Affidavit, ¶ 5). Covington was not in favor of Plaintiff’s 2014 Contract. (Exhibit 3,

Covington Affidavit, ¶ 4).

       10.     In April 2015, Covington and three (3) Village Trustees, among other Village

officials, were up for re-election. (Exhibit 2, Bradley Deposition, pp. 15-16; Exhibit 3, Covington

Affidavit, ¶ 6). Covington along with incumbent Trustees Milton Payton and Oscar Brown were



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successfully re-elected. (Exhibit 3, Covington Affidavit, ¶ 6). In addition, Paula Wilson, a non-

incumbent, then became a newly elected Trustee. (Exhibit 3, Covington Affidavit, ¶ 6).

Covington’s second, four-year term of office as the Village Mayor commenced on May 16, 2015.

(Exhibit 3, Covington Affidavit, ¶ 6).

       11.     As a result of the April 2015 election, Covington and her faction of Board Trustees

came to comprise a majority of the Board. (Exhibit 2, Bradley Deposition, pp. 27-28). Plaintiff

then realized his termination as the Village Police Chief was imminent based upon the Village

Board’s new composition. (Exhibit 2, Bradley Deposition, pp. 27-28).

       12.     Upon assuming the position of Village Mayor for a second, four-year term and with

a new Village Board, on May 16, 2015, Covington advised Plaintiff via a letter that he had been

placed on administrative leave with pay pending further review by the Village Board. (Exhibit 1,

Village Defendants’ Amended Answer and Affirmative Defenses to Plaintiff’s Complaint, ¶ 11;

Exhibit 6, Plaintiff’s Complaint, Exhibit B).

       13.     Covington thereafter called a Village Board meeting during which a formal vote

was taken to terminate Plaintiff as the Village Police Chief. (Exhibit 5, Roudez Deposition, p. 7).

Joseph Roudez, then a Village Trustee, was not present for the said Village Board meeting.

(Exhibit 5, Roudez Deposition, pp. 6-7). Then Village Trustee Keith Griffin was also not in

attendance for the said Village Board meeting. (Exhibit 5, Roudez Deposition, pp. 7-8).

       14.     Approximately two weeks later, via a letter dated May 29, 2015, Covington

informed Plaintiff that his appointment as the Village’s Police Chief had been terminated effective

May 15, 2015, and that he had been replaced by an Acting Chief of Police as of May 22, 2015.

(Exhibit 1, Village Defendants’ Amended Answer and Affirmative Defenses to Plaintiff’s

Complaint, ¶¶ 6, 10; Exhibit 6, Plaintiff’s Complaint, Exhibit A).



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       15.     The May 29, 2015 letter further represented that the 2014 Contract was void ab

initio, conferred no rights to Plaintiff, imposed no duties upon the Village and afforded Plaintiff

no protection. (Exhibit 1, Village Defendants’ Amended Answer and Affirmative Defenses to

Plaintiff’s Complaint, ¶ 10; Exhibit 6, Plaintiff’s Complaint, Exhibit A). In that regard, the letter

referenced Sections 5/3.1-30-5(c) and 8-1-7(b) of the Illinois Municipal Code, 65 ILCS 5/3.1-30-

5(c) and 65 ILCS 5/8-1-7(b). (Exhibit 6, Plaintiff’s Complaint, Exhibit A).

                                              Respectfully submitted,


                                              /s/ DOMINICK L. LANZITO

Date: October 28, 2021                        One of the Attorneys for Defendants
                                              Village of University Park and Vivian Covington




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